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                    UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                                 WACO
                                 WACO DIVISION


DEMARAY LLC                                 §
                                            §     CIVIL NO:
vs.                                         §     WA:20-CV-00634-ADA
                                            §
INTEL CORPORATION                           §

                ORDER SETTING DISCOVERY
                              DISCOVERY HEARING


         IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                            set for
DISCOVERY HEARING by zoom       zoom on Thursday, March 04, 2021 at 09:30 AM. The link for
the hearing will be sent by e-mail.

       IT                       3rd day of March, 2021.




                                            Alan D Albright
                                            UNITED STATES DISTRICT JUDGE
